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                    9                                   UNITED STATES DISTRICT COURT

                   10                              NORTHERN DISTRICT OF CALIFORNIA

                   11

                   12   DFINITY USA RESEARCH, LLC, a limited                  Case No. 5:22-cv-03732-EJD
                        liability company,
                   13                                                         DEFENDANT ERIC BRAVICK’S RE-
                                           Plaintiff,                         NOTICE OF MOTION TO DISMISS
                   14
                               v.                                             Date: January 26, 2023
                   15                                                         Time: 9:00 a.m.
                        ERIC BRAVICK, an individual and DOES 1                Ctrm: Courtroom 4
                   16   through 100, inclusive,                               Judge: Hon. Edward J. Davila
                   17                      Defendant.                         [Fed. R. Civ. P. 12(b)(6)]
                   18                                                         Complaint filed: May 11, 2022
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                   21          Per this Court’s order of July 06, 2022 (Dkt. No. 11), which indicated that the below-

                   22   referenced motion should be re-noticed for hearing in light of reassignment to a District Judge,

                   23   PLEASE TAKE NOTICE that on January 26, 2023, at 9 a.m., in the courtroom of the Hon.

                   24   Edward J. Davila, U.S. District Court for the Northern District of California, San Jose Division,

                   25   Defendant Eric Bravick (“Defendant” or “Mr. Bravick”) will bring before the court, pursuant to

                   26   Rule 12(b)(6) of the Federal Rules of Civil Procedure, his motion to dismiss two claims in the

                   27   Complaint of Dfinity USA Research, LLC (“Plaintiff” or “Dfinity”), filed May 11, 2022, on the

                   28   basis that Plaintiff has failed to state a claim upon which relief can be granted. The grounds for
  CROWELL
& MORING LLP
ATTORNEYS AT LAW                                                                      BRAVICK’S RE-NOTICE OF MOTION TO DISMISS;
                                                                                                        CASE NO. 5:22-cv-03732-EJD
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                    1   this Motion are that Plaintiff has not adequately pled a claim under California Penal Code 496(c)

                    2   and Unjust Enrichment/Constructive Trust is not a cause of action under California law.

                    3   Defendant filed his motion on July 1, 2022 (Dkt. No. 8). Pursuant to the Clerk’s order of July 6,

                    4   2022 (Dkt. No. 11), Defendant now re-notices the motion for January 26, 2023 at 9:00 am, the

                    5   first available hearing date.

                    6          This Motion is based on the Memorandum of Points and Authorities filed on July 1, 2022

                    7   (Dkt. No. 8), and accompanying declaration from Eric Bravick, and all other pleadings, papers

                    8   and records filed with the Court concerning this matter, and on such further evidence as may be

                    9   presented at the time of the hearing.

                   10   Dated: July 26, 2022                              Respectfully submitted,
                   11                                                     CROWELL & MORING LLP
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                   13                                                     By: /s/ Joachim B. Steinberg
                                                                              Joachim B. Steinberg
                   14                                                         Gabriel M. Ramsey
                   15                                                          Attorneys for Defendant
                                                                               ERIC BRAVICK
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  CROWELL
& MORING LLP
                                                                                    BRAVICK’S RE-NOTICE OF MOTION TO DISMISS;
ATTORNEYS AT LAW
                                                                        -2-                           CASE NO. 5:22-cv-03732-EJD
